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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT

DONGGUK UNIVERSITY,              :
                                 :
     Plaintiff,                  :
                                 :
V.                               :
                                 :     CASE NO. 3:08-CV-441(RNC)
YALE UNIVERSITY,                 :
                                 :
     Defendant.                  :
                                 :

                               ORDER

     In accordance with the discussion during the telephone

conference on February 23, 2009, the motions to dismiss (doc.

#25) and stay discovery (doc. #12) are hereby denied.

     Discovery will be conducted in phases.        The parties will

have an initial period of six months (i.e. through August 31,

2009) to engage in discovery focused primarily on issues relating

to liability.   During this time, plaintiff will depose Pamela

Schirmeister, Susan Carney and Gila Reinstein.        Defendant will

take no depositions but will be permitted to serve up to fifty

interrogatories.   A settlement conference will be scheduled for a

date in September 2009.    In the event the case does not settle, a

pretrial conference will be scheduled to address the timing of

further discovery and dispositive motions.

     So ordered this 24th day of February 2009.



                                              /s/ RNC
                                            Robert N. Chatigny
                                       United States District Judge
